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B26 (Official Form 26) (12/08)

United States Bankruptcy Court
District of Colorado

In re Futurum Communications Corporation, Case No. 21-11331-KHT
Debtor Chapter 11

PERIODIC REPORT REGARDING VALUE, OPERATIONS AND PROFITABILITY OF
ENTITIES IN WHICH THE ESTATE OF Futurum Communications Corporation
HOLDS A SUBSTANTIAL OR CONTROLLING INTEREST

This is the report as of 12/31/2020 on the value, operations and profitability of those

entities in which the estate holds a substantial or controlling interest, as required by Bankruptcy
Rule 2015.3. The estate of [Name of Debtor] holds a substantial or controlling interest in the
following entities:

 

 

 

 

Name of Entity Interest of the Estate Tab #
San Isabel Telecom Inc 100% of common stock Sl
Fundamental Holdings Corp 100% of stock FH
Brainstorm Internet 100% of stock BSI

 

 

 

 

 

This periodic report (the “Periodic Report”) contains separate reports (“Entity Reports”) on the
value, operations, and profitability of each entity listed above.

Each Entity Report shall consist of three exhibits. Exhibit A contains a valuation estimate

for the entity as of a date not more than two years prior to the date of this report. It also contains
a description of the valuation method used. Exhibit B contains a balance sheet, a statement of
income (loss), a statement of cash flows, and a statement of changes in shareholders’ or
partners’ equity (deficit) for the period covered by the Entity Report, along with summarized
footnotes. Exhibit C contains a description of the entity’s business operations.

THIS REPORT MUST BE SIGNED BY A REPRESENTATIVE OF THE TRUSTEE OR DEBTOR
IN POSSESSION.

The undersigned, having reviewed the above listing of entities in which the estate of [Debtor]
holds a substantial or controlling interest, and being familiar with the Debtor’s financial affairs,
verifies under the penalty of perjury that the listing is complete, accurate and truthful to the best
of his/her knowledge.

Date: 5/6/2021
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__/s/ Jawaid ong Wie bo 3

Signature of Authorized Individual

Jawaid Bazyar
Name of Authorized Individual

President
Title of Authorized Individual

[If the Debtor is an individual or in a joint case]

Signature(s) of Debtor(s) (Individual/Joint)

 

Signature of Debtor

 

Signature of Joint Debtor
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TAB FH

Fundamental Holdings Corp
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Exhibit A
Valuation estimate for Fundamental Holdings Corp

Futurum Communications Corporation owns 100% of the common stock of Fundamental
Holdings Corp.

We do not have a valuation estimate for this entity.
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Exhibit B

Financial S for Fundamental Holdings C
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Exhibit B-1
Balance Sheet for Fundamental Holdings Corp

As of 12/31/2020
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Fundamental Holdings Corp

Balance Sheet
As of December 31, 2020

10:06 AM

04/21/21
Accrual Basis

 

 

 

 

 

 

 

 

 

Jun 30, 20 Sep 30, 20 Dec 31, 20
ASSETS
Current Assets
Checking/Savings
1071 - Bill.com Money In Clearing 0.00 0.00 -2.58
1072 - Bill.com Money Out Clearing 0.00 0.00 -2,688.00
1130.01 - Chase Checking 47,480.06 72,845.64 52,583.37
1130.02 - Chase Savings 45,865.58 40,008.81 30,001.15
Total Checking/Savings 93,345.64 112,854.45 79,893.94
Accounts Receivable
1180.10 - Customer Accounts Receivable 3,326.56 3,326.56 3,326.56
1180.11 - Customer A/R-QB Aging 92,738.66 92,738.66 92,738.66
1180.12 - Customer A/R - Platypus 18,104.95 18,104.95 18,104.95
1181.00 - Allowance for Bad Debts -48,496.66 -48,496.66 -48,496.66
1190.01 - Accounts Receivable 207.57 207.57 207.57
1190.50 - Intercompany A/R-FHC Holdings 5,110.50 0.00 0.00
Total Accounts Receivable 70,991.58 65,881.08 65,881.08
Other Current Assets
1190.10 - Employee Payroll Advance 700.00 700.00 700.00
1330.02 - Prepaid Expenses -1,708.17 39,892.43 27,331.49
1401.10 - Investment in Affiliate-FHCProp 180,163.92 0.00 0.00
Total Other Current Assets 179,155.75 40,592.43 28,031.49
Total Current Assets 343,492.97 219,327.96 173,806.51
Fixed Assets
2112.00 - Motor Vehicles
2112.02 - 2014 Ram 1500 0754 30,612.46 30,612.46 30,612.46
2112.08 - 2014 Ram 3500 45,716.34 45,716.34 45,716.34
2112.15 - 1996 Dodge Truck 2,500.00 2,500.00 2,500.00
2112.20 - 2017 Ram 2500 0986 45,393.57 45,393.57 45,393.57
2112.21 - 2018 Ram 2500 9599 34,727.10 34,727.10 34,727.10
2112.22 - 1994 Ford F350 VIN-CA24915 7,500.00 7,500.00 7,500.00
2112.23 - 2018 Nissan NV200 4611 23,477.56 23,477.56 23,477.56
2112.24 - 2018 Nissan NV200 9853 23,386.66 23,386.66 23,386.66
2112.25 - 2018 Nissan NV200 4598 22,901.25 22,901.25 22,901.25
2112.26 - 2018 Nissan NV200 4485 23,664.02 23,664.02 23,664.02
2112.27 - 2018 Nissan NV200 1899 20,866.10 20,866.10 20,866.10
2112.28 - 2019 Ford F550 AltecBucket-6819 138,564.00 138,564.00 138,564.00
2112.29 - 2020 Subaru WRX - L9812837 45,192.94 0.00 0.00
2112.30 - 2020 Dodge Durango LC131505 40,502.28 0.00 0.00
2112.31 - 2020 Jeep Renegade PL59274 0.00 19,775.71 19,775.71
Total 2112.00 - Motor Vehicles 505,004.28 439,084.77 439,084.77
2116.00 - Other Work Equipment
2116.01 - Ditch Witch 3,705.99 3,705.99 3,705.99
2116.10 - Ver 500 gal Mixer 334.78 334.78 334.78
2116.11 - Ver DCI Locator System 13,042.58 13,042.58 13,042.58
2116.12 - Ver MX125 Mixer 334.77 334.77 334.77
2116.13 - Water Tank Fiber Trailer 900.00 900.00 900.00
2116.14 - Specialty Tools 26,942.43 26,942.43 26,942.43
2116.15 - Trailer 2,950.00 2,950.00 2,950.00
2116.16 - 1997 FO F800 Bucket Truck 4737 21,300.00 21,300.00 21,300.00
2116.17 - Ditch Witch JT25 Drill 295,831.04 295,831.04 295,831.04
2116.18 - Ditch Witch FX50 Vac Unit 81,132.53 81,132.53 81,132.53
2116.19 - Ditch Witch T22S Trailer 10,000.00 10,000.00 10,000.00
2116.20 - 2018 Yanmar VIO25 Mini Exc 38,883.84 38,883.84 38,883.84
2116.21 - 2020 John Deere Skid Steer 52,648.98 52,648.98 52,648.98
2116.22 - 2017 Lucon Gooseneck Trailer 0.00 0.00 19,533.00
2116.00 - Other Work Equipment - Other 92.37 92.37 92.37
Total 2116.00 - Other Work Equipment 548,099.31 548,099.31 567,632.31

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Fundamental Holdings Corp

Balance Sheet
As of December 31, 2020

10:06 AM

04/21/21
Accrual Basis

 

 

 

 

Jun 30, 20 Sep 30, 20 Dec 31, 20
2117.01 - Othr Wrk Equip-Installer Tools 8,879.12 8,879.12 8,879.12
2121.00 - Property - 311 Sunny Glen Ct 149,405.15 0.00 0.00
2121.01 - Buildings-Company Sign 6,462.61 6,462.61 6,462.61
2121.03 - Building Repairs & Improvements 10,808.77 10,913.37 18,664.91
2123.01 - Office Support Equipment 18,011.02 18,011.02 18,011.02
2124.01 - Gen Purp Cmptr-Servers & Equip 89,145.15 89,145.15 89,145.15
2232.00 - Circuit and Network Equip-Fiber
2232.01 - Network Equipment 267,361.19 291,631.77 322,272.32
2232.02 - Software 10,310.93 9,843.93 11,443.93
Total 2232.00 - Circuit and Network Equip-Fiber 277,672.12 301,475.70 333,716.25
2232.03 - Circuit & Network Equipmnt-VoIP 36,029.35 36,029.35 36,029.35
2232.04 - C & NE - Subscriber Equipment 438,665.28 509,293.84 573,721.00
2233.01 - Tower & Ntwrk Equpmnt-Wireless 520,233.88 520,827.08 529,901.46
2233.02 - Twr & Ntwk Equip-Wireless_Build 323,278.15 323,278.15 323,278.15
2311.02 - Microwave Towers 51,675.92 51,675.92 51,675.92
2423.00 - Fiber Optic Cable
2423.01 - Fees 14,746.35 17,713.28 20,374.56
2423.02 - Fuel (Asset) 8.66 8.66 8.66
2423.05 - Outside Plant 27,515.49 46,427.25 59,410.30
2423.06 - Permits 663.27 1,170.27 1,270.27
2423.07 - Rental Fees 1,669.55 1,669.55 2,030.69
2423.08 - Repairs (Asset) 5,017.43 8,839.67 20,854.18
2423.09 - Supplies 3,631.01 4,916.70 6,088.32
2423.11 - Fiber Optic Lease 0.00 -25,000.00 -25,000.00
2423.00 - Fiber Optic Cable - Other 1,921,978.95 1,921,978.95 1,921,478.95
Total 2423.00 - Fiber Optic Cable 1,975,230.71 1,977,724.33 2,006,515.93
3100.01 - Accumulated Depreciation
3112.02 - Acc Depr-Mtr veh-2014 Ram 0754 -30,611.89 -30,611.89 -30,611.89
3112.03 - Acc Depr-Mtr Veh-2015 Ram 3945 -0.32 -0.32 -0.32
3112.08 - Acc Depr-2014 Ram 3500 -38,096.69 -38,096.69 -38,096.69
3112.09 - Acc Depr-2015 VER FEL Ft-8 Trai -0.06 -0.06 -0.06
3112.10 - ACC Depr-Ram Promaster 0316 0.08 0.08 0.08
3112.11 - Acc Depr-Ram Promaster 3674 -0.18 -0.18 -0.18
3112.12 - Acc Depr-Ram Promaster 3944 -0.34 -0.34 -0.34
3112.13 - Acc Depr-Ram Promaster 8440 0.15 0.15 0.15
3112.14 - Acc Depr-Ram Promaster 8578 -0.41 -0.41 -0.41
3112.15 - Acc Depr-Mtr Veh-1996 Dodge Tru -2,500.00 -2,500.00 -2,500.00
3112.20 - Acc Depr-2017 Ram 2500 0986 -19,670.83 -19,670.83 -19,670.83
3112.21 - Acc Depr - 2018 Ram 2500 9599 -10,996.42 -10,996.42 -10,996.42
3112.22 - Acc Depr-1994 Ford F350 -1,500.00 -1,500.00 -1,500.00
3112.23 - Acc Depr-2018 Nissan NV200 4611 -4,472.00 -4,472.00 -4,472.00
3112.24 - Acc Depr-2018 Nissan NV200 9853 -6,236.33 -6,236.33 -6,236.33
3112.25 - Acc Depr-2018 Nissan NV200 4598 -6,107.25 -6,107.25 -~6,107.25
3112.26 - Acc Depr-2018 Nissan NV200 4485 -10,484.02 -10,484.02 -10,484.02
3112.27 - Acc Depr-2018 Nissan NV200 1899 -696.00 -696.00 -696.00
311222 - Acc Depr - 1994 Ford F350 24915 -375.00 -375.00 -375.00
3116.01 - Acc Depr-Ditch Witch -3,374.83 -3,374.83 -3,374.83
3116.05 - Acc Depr-2013 Ver 24x40s2 drill -0.43 -0.43 -0.43
3116.06 - Acc Depr-2015 McLaughlin VX50 -0.14 -0.14 -0.14
3116.07 - Acc Depr-Ver 24x26 drill rods -0.43 -0.43 -0.43
3116.08 - Acc Depr-Ver 24x40 Direct Drill 0.25 0.25 0.25
3116.09 - Acc Depr-Ver 24x40 drill rods50 -0.33 -0.33 -0.33
3116.10 - Acc Depr-Ver 500 gal Mixer -211.42 -211.42 -211.42
3116.11 - Acc Depr_Ver DCI Locator System -8,229.06 -8,229.06 -8,229.06
3116.12 - ACC Depr-Ver MX125 Mixer -230.53 -230.53 -230.53
3116.13 - Acc Depr_Water Tank Fiber Trail -626.14 -626.14 -626.14
3116.14 - Acc Depr-Specialty Tools -25,531.44 -25,531.44 -25,531.44
3116.15 - Acc Depr-Trailer -2,233.57 -2,233.57 -2,233.57
3116.16 - Acc Depr-1997 FO F800 Bucket Tr -14,707.35 -14,707.35 -14,707.35
3116.17 - Acc Depr-Ditch Witch JT25 Drill -66,915.42 -66,915.42 -66,915.42
3116.18 - Acc Depr-Ditch Witch FX50 Vac -18,351.59 -18,351.59 -18,351.59
3116.19 - Acc Depr-Ditch Witch T22S Tir -2,261.60 -2,261.60 -2,261.60
3116.20 - Acc Dep-2018 Yanmar VIO25 -3,240.39 -3,240.39 -3,240.39

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Fundamental Holdings Corp

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04/21/21
Accrual Basis

Balance Sheet
As of December 31, 2020

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3117.01
3121.00 -
3121.01
3121.03 -
3123.01
3124.00 -
3232.01
3232.02 -
3232.03 -
3232.04 -
3233.01
3233.02 -
3311.02
3423.00 -

Total 3100.

- Acc Depr-Other Work Equip Insta

Acc Depr-Building

- Acc Depr-Signs

Acc Depr-Building Repairs/Impro

- Acc Depr-Office Support Equipme

Acc Depr-Gen Purp Comptr-Server

- Acc Depr-Network Equipment

Acc Depr-C & NE-Software
Acc Depr-C&NE - VoIP
Acc Depr - C&NE-Subscriber Equp

- Acc Depr-Tower & Ntwrk Equip-Wi

Acc Depr-Twr & Ntwrk Equp-Wirel

- Acc Depr-Microwave Towers

Acc Depr-Fiber Optic Cable

01 - Accumulated Depreciation

Total Fixed Assets

Other Assets
1140.01 - Loan Origination Fees
1140.02 - Loan Origination Fees Accum Amo

Total Other Assets
TOTAL ASSETS

LIABILITIES & EQUITY

Liabilities

Current Liabilities
Accounts Payable

4010.01
4080.01

- Accounts Payable
: Accrued Propery Taxes Payable

Total Accounts Payable

Credit Cards

4010.02 -
4010.06 -
4010.10 -

4010.11

Amex -04008

Chase Ink

American Express-05005

- FCC-American Express-45004

Total Credit Cards

Other Current Liabilities

4010.03
4010.04
4120.01

* Payroll Liabilities
- Sales Tax Liability
- Accrued Interest Payable

Total Other Current Liabilities

Total Current Liabilities

Long Term Liabilities

4210.02 -

4020.03 -
4020.04 -
4210.07 -
4210.08 -
4210.09 -
4210.10 -

4210.11

4210.12 -
4210.13 -
4210.16 -
4210.17 -
4210.22 -
4210.23 -
4210.24 -

Long-Term Liabilities
Community Banks of CO-5731-1
Vectra Bank - PPP Loan 69868
Chrysler 1953287 14 Ram 1500
Chrysler 5681315 15 Ram 0316
Chrysler 5681471 15 Ram 3944
Chrysler 5687106 15 Ram 3674
- Chrysler 5690316 15 Ram 8440
Chrysler 5690886 15 Ram 8578
Chrysler 8258516 15 Ram 1500
De Lage Landen 25347473

HP Financial Capital Lease

Ally 611926426558 17 Ram 2500
Ditch Witch 379-0120827-001
Ally 4773 18 Ram 2500

 

 

 

 

 

 

 

 

 

 

 

Jun 30, 20 Sep 30, 20 Dec 31, 20
-2,583.84 -2,583.84 -2,583.84
-10,535.08 -10,535.08 -10,535.08
-1,254.62 -1,254.62 -1,254.62
-4,322.36 -4,322.36 -4,322.36
-18,011.00 -18,011.00 -18,011.00
-56,017.95 -56,017.95 -56,017.95
-88,191.14 -88,191.14 -88,191.14
-3,217.45 -3,217.45 -3,217.45
-16,211.99 -16,211.99 -16,211.99
-97,321.16 -97,321.16 -97,321.16
-262,898.13 -262,898.13 -262,898.13
-109,920.09 -109,920.09 -109,920.09
-12,540.14 -12,540.14 -12,540.14
-219,765.61 -219,765.61 -219,765.61
-1,180,452.49 -1,180,452.49 -1,180,452.49
3,778,148.33 3,660,447.23 3,822,265.46
23,384.44 23,384.44 23,384.44
-19,860.86 -19,860.86 -19,860.86
3,523.58 3,523.58 3,523.58
4,125,164.88 3,883,298.77 3,999,595.55
111,917.58 84,610.47 184,361.80
5,948.72 -26.78 -26.78
117,866.30 84,583.69 184,335.02
14,886.69 -289.59 -289.59
18.00 29.74 29.74
0.00 40,799.34 5,916.91
0.00 0.00 8,944.50
14,904.69 40,539.49 14,601.56
17,338.04 5,434.71 -19,699.28
-0.08 -0.08 -0.08
2,600.00 2,600.00 2,600.00
19,937.96 8,034.63 -17,099.36
152,708.95 133,157.81 181,837.22
1,026,052.23 968,231.33 910,096.00
171,700.00 171,700.00 171,700.00
0.40 0.00 0.00
0.51 0.00 0.00
0.64 0.00 0.00
-0.04 0.00 0.00
-0.42 0.00 0.00
-0.24 0.00 0.00
0.46 0.00 0.00
-751.89 0.00 0.00
249.13 0.00 0.00
25,607.67 23,414.10 21,220.53
7,048.28 0.00 0.00
18,742.23 16,816.08 14,889.93

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10:06 AM Fundamental Holdings Corp

04/21/21
Accrual Basis

Balance Sheet
As of December 31, 2020

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4210.25 - HP Financial Svcs Co-1575
4210.26 - Nissan 940001 18 Nissan NV200
4210.27 - Nissan 850001 18 Nissan NV200
4210.28 - Nissan 140001 18 Nissan NV200
4210.29 - Nissan 750001 18 Nissan NV200
4210.30 - Nissan 250001 18 Nissan NV200
4210.31 - Direct Capital-CIT Bank NA
4210.32 - HP Financial Svcs Co-0142
4210.33 - PNC Equipment Finance-157188
4210.34 - BNP Paribas Lsing Sol-120827
4210.35 - Balboa Capital 9510

4210.36 - Altec Capital-Agrmnt 232271
4210.37 - John Deere Fin_Acct510001843939
4210.38 - Ent - 2020 Subaru WRX

4210.39 - Ally 4923-2020 Dodge Durango
4210.40 - Ally 4879 -2020 Jeep Renegade

Total 4210.02 - Long-Term Liabilities
Total Long Term Liabilities
Total Liabilities

Equity
4510.01 - Common Stock
4520.01 - Additional Paid in Capital
4550.03 - Retained Earnings
4550.04 - Distributions
Net Income

Total Equity
TOTAL LIABILITIES & EQUITY

 

 

 

 

 

 

Jun 30, 20 Sep 30, 20 Dec 31, 20
106.99 0.00 0.00
13,674.15 12,332.67 11,826.55
13,621.18 12,284.89 11,780.73
13,338.56 12,030.02 11,536.34
13,782.78 12,430.65 11,920.51
12,933.15 11,740.89 11,326.31
21,553.34 19,303.22 16,974.10
-2,009.30 0.00 0.00
166.16 0.00 0.00
28,352.80 25,922.56 23,492.32
39,408.03 37,049.79 34,691.55
128,941.50 123,168.00 117,394.50
50,455.26 47,164.68 43,874.10
44,563.82 0.00 0.00
40,502.28 0.00 0.00
0.00 19,392.54 18,243.03
1,668,039.66 1,512,981.42 1,430,966.50
1,668,039.66 1,512,981.42 1,430,966.50
1,820,748.61 1,646,139.23 1,612,803.72
1.00 1.00 1.00
58,954.00 58,954.00 58,954.00
2,335,978.97 2,335,978.97 2,335,978.97
-540,340.94 -883,870.51 -1,119,658.64
449,823.24 726,096.08 1,111,516.50
2,304,416.27 2,237,159.54 2,386,791.83
4,125,164.88 3,883,298.77 3,999,595.55

 

 

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Exhibit B-2

Statement of Income (Loss) for Fundamental Holdings Corp

Period ending 12/31/2020
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04/21/21
Accrual Basis

Fundamental Holdings Corp

Profit & Loss
July through December 2020

 

Ordinary Income/Expense

Income

5001.01 -
5001.03 -

Commissions
ISP Income

Total Income

Expense

6112.00 -

6116.01

6123.01

6124.01
6423.01
6500.01

6500.02 -
6500.03 -
6500.04 -
6500.05 -

6500.07 -
6500.08 -
6500.10 -

6531.01

6532.00 -
6540.10 -

6612.01
6613.01
6623.01

6721.01

6723.00

6725.01 -

6727.01

6728.21

7240.01

7370.02

Automobile Expense

* Other Work Equipmnt-Small Tools
6120.00 -
6121.00 -

Prepaid Lease Expense
Land and Building Expense

+ Office Equipment Expense

- Gen Purpose Computer Expense
- Supplies Expense-Fiber
- Contract Labor

Network Equipment Expense
Other Equipment Expense
Subscriber Equipment Expense
Installation Supplies Expense

Licenses and Permits Expense
Software Expense
Plant Nonspecific Expenses-Sala

- Telephone

Utilities
USAC

- Sales Commissions Expense

: Advertising

- Cust Ops Exp-Answering Service
6700.01 -
6700.02 -

Payroll Expenses
Payroll Tax Expense

- Accounting and Finance Expense
6721.02 -
6722.00 -

Professional Fees
External Relations

* Human Resource Expense

Legal Expense

- Research and Development Exp
6728.00 -

6728.03 -
6728.04 -

6728.13 -
- Community Relations
6728.49 -
6728.50 -
- Operating Tax Expense
7370.01 -

Bank Charges & Fees

Meals and Entertainment
Other General and Admin

Fix Me

Insurance-Other
Health Insurance Expense

Contributions

- Corporate Contribution Expense
7510.01 -
7540.00 -

Interest Expense on Funded Debt
Interest Exp - Credit Card Debt

Total Expense

Net Ordinary Income

 

 

 

 

Jul-Sep 20 Oct-Dec 20 TOTAL
146.04 146.04 292.08
1,035,020.81 _1,069,656.02 2,104,676.83
1,035,166.85 1,069,802.06 2,104,968.91
24,180.68 8,384.51 32,565.19
865.29 8.71 856.58
29,166.66 6,249.99 35,416.65
14,894.59 26,309.17 41,203.76
3,033.26 724.34 3,757.60
4,295.47 0.00 4,295.47
142.33 388.83 531.16
3,532.76 3,383.04 6,915.80
64,258.48 61,779.91 126,038.39
0.00 1,298.55 1,298.55
24.96 6,610.38 6,635.34
9,524.52 2,419.35 11,943.87
0.00 30.00 30.00
751.95 0.00 751.95
2,850.00 2,400.00 5,250.00
77,722.61 76,481.05 154,203.66
6,036.94 10,600.13 16,637.07
5,043.63 4,968.42 10,012.05
268.95 0.00 268.95
7,016.90 5,054.91 12,071.81
8,265.05 8,552.35 16,817.40
293,905.44 288,989.22 582,894.66
22,038.03 20,311.95 42,349.98
11,196.00 2,100.00 13,296.00
359.50 655.26 1,014.76
14,856.10 11,419.32 26,275.42
609.80 246.90 856.70
51,122.00 21,032.50 72,154.50
873.37 0.00 873.37
25,998.33 26,869.16 52,867.49
2,688.18 1,069.82 3,758.00
1,910.69 1,393.19 3,303.88
2,571.89 4,394.27 6,966.16
147.46 103.40 250.86
18,070.17 16,408.51 34,478.68
22,175.13 28,372.71 50,547.84
2,266.43 1,705.21 3,971.64
15,644.28 11,950.00 —-27,594.28
5,855.90 1,879.79 7,735.69
14,498.71 19,790.10 34,288.81
332.93 0.00 332.93
768,995.37 684,317.53 1,453,312.90
266,171.48 385,484.53 651,656.01

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10:07 AM Fundamental Holdings Corp
04/21/21 Profit & Loss
Accrual Basis July through December 2020
Jul-Sep 20 Oct-Dec 20 TOTAL
Other Income/Expense
Other Income
7320.01 - Interest Income 2.12 1.84 3.96
Total Other Income 2.12 1.84 3.96
Other Expense
6728.15 - General Expense-FHC Properties 7,056.54 42.49 7,099.03
7160.00 - Other Operating Gains & Losses -17,155.78 23.46 -17,132.32
Total Other Expense -10,099.24 65.95 -10,033.29
Net Other Income 10,101.36 -64.11 10,037.25
Net Income 276,272.84 385,420.42 661,693.26

 

 

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Exhibit B-3
Statement of Cash Flows for Fundamental Holdings Corp

For the period ending 12/31/2020
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10:07 AM
04/21/21

Fundamental Holdings Corp

Statement of Cash Flows
July through December 2020

 

OPERATING ACTIVITIES
Net Income
Adjustments to reconcile Net Income
to net cash provided by operations:

1190.50 -
1330.02 -
1401.10 -

4010.01
4080.01

4010.02 -

4010.06
4010.10

4010.11 -
4010.03 -

Intercompany A/R-FHC Holdings
Prepaid Expenses

Investment in Affiliate-FHCProp
- Accounts Payable

- Accrued Propery Taxes Payable
Amex -04008

- Chase Ink

- American Express-05005
FCC-American Express-45004
Payroll Liabilities

Net cash provided by Operating Activities
INVESTING ACTIVITIES

2112.00 -
2112.00 -
2112.00
2116.00 -
2121.00 -
2121.03 -
2232.00
2232.00 -
2232.04 -
2233.01
2423.00 -
2423.00 -
2423.00
2423.00 -
2423.00 -
2423.00 -
2423.00 -
2423.00 -

Motor Vehicles:2112.29 - 2020 Subaru WRX - L9812837
Motor Vehicles:2112.30 - 2020 Dodge Durango LC131505

* Motor Vehicles:2112.31 - 2020 Jeep Renegade PL59274

Other Work Equipment:2116.22 - 2017 Lucon Gooseneck Trailer
Property - 311 Sunny Glen Ct
Building Repairs & Improvements

: Circuit and Network Equip-Fiber:2232.01 - Network Equipment

Circuit and Network Equip-Fiber:2232.02 - Software
C & NE - Subscriber Equipment

- Tower & Ntwrk Equpmnt-Wireless

Fiber Optic Cable
Fiber Optic Cable:2423.01 - Fees

: Fiber Optic Cable:2423.05 - Outside Plant

Fiber Optic Cable:2423.06 - Permits

Fiber Optic Cable:2423.07 - Rental Fees
Fiber Optic Cable:2423.08 - Repairs (Asset)
Fiber Optic Cable:2423.09 - Supplies

Fiber Optic Cable:2423.11 - Fiber Optic Lease

Net cash provided by Investing Activities

FINANCING ACTIVITIES

4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02
4210.02 -
4210.02
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02 -
4210.02
4210.02 -
4210.02 -

Long-Term Liabilities:4020.03 - Community Banks of CO-5731-1

Long-Term Liabilities:4210.07 -

Long-Term Liabilities:4210.08

Long-Term Liabilities:4210.11

Chrysler 1953287 14 Ram 1500

- Chrysler 5681315 15 Ram 0316
Long-Term Liabilities:4210.09 -
Long-Term Liabilities:4210.10 -

Chrysler 5681471 15 Ram 3944
Chrysler 5687106 15 Ram 3674

* Chrysler 5690316 15 Ram 8440
Long-Term Liabilities:4210.12 -
Long-Term Liabilities:4210.13 -
Long-Term Liabilities:4210.16 -

Chrysler 5690886 15 Ram 8578
Chrysler 8258516 15 Ram 1500
De Lage Landen 25347473

Long-Term Liabilities:4210.17 - HP Financial Capital Lease
Long-Term Liabilities:4210.22 - Ally 611926426558 17 Ram 2500
Long-Term Liabilities:4210.23 - Ditch Witch 379-0120827-001
Long-Term Liabilities:4210.24 - Ally 4773 18 Ram 2500
Long-Term Liabilities:4210.25 - HP Financial Svcs Co-1575
Long-Term Liabilities:4210.26 - Nissan 940001 18 Nissan NV200
Long-Term Liabilities:4210.27 - Nissan 850001 18 Nissan NV200

- Long-Term Liabilities:4210.28 - Nissan 140001 18 Nissan NV200

Long-Term Liabilities:4210.29 - Nissan 750001 18 Nissan NV200

- Long-Term Liabilities:4210.30 - Nissan 250001 18 Nissan NV200

Long-Term Liabilities:4210.31 - Direct Capital-CIT Bank NA
Long-Term Liabilities:4210.32 - HP Financial Svcs Co-0142
Long-Term Liabilities:4210.33 - PNC Equipment Finance-157188
Long-Term Liabilities:4210.34 - BNP Paribas Lsing Sol-120827
Long-Term Liabilities:4210.35 - Balboa Capital 9510

* Long-Term Liabilities:4210.36 - Altec Capital-Agrmnt 232271

Long-Term Liabilities:4210.37 - John Deere Fin_Acct510001843939
Long-Term Liabilities:4210.38 - Ent - 2020 Subaru WRX

Jul - Dec 20

661,693.26

5,110.50
-29,039.66
180,163.92
72,444.22
-5,975.50
-15,176.28
11.74
5,916.91

8,944.50

-37,037.32

847,056.29

45,192.94
40,502.28
-19,775.71
-19,533.00
149,405.15
-7,856.14
-54,911.13
-1,133.00
-135,055.72
-9,667.58
500.00
-5,628.21
-31,894.81
-607.00
-361.14
-15,836.75
-2,457.31

25,000.00

-44,117.13

-115,956.23
-0.40

-0.51

-0.64

0.04

0.42

0.24

-0.46
751.89
-249.13
-4,387.14
-7,048.28
-3,852.30
-106.99
-1,847.60
-1,840.45
-1,802.22
-1,862.27
-1,606.84
-4,579.24
2,009.30
-166.16
-4,860.48
-4,716.48
-11,547.00
-6,581.16
-44,563.82

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10:07 AM Fundamental Holdings Corp

04/21/24 Statement of Cash Flows
July through December 2020

4210.02 - Long-Term Liabilities:4210.39 - Ally 4923-2020 Dodge Durango
4210.02 - Long-Term Liabilities:4210.40 - Ally 4879 -2020 Jeep Renegade
4550.04 - Distributions

Net cash provided by Financing Activities
Net cash increase for period
Cash at beginning of period

Cash at end of period

Jul - Dec 20

-40,502.28
18,243.03

-579,317.70
-816,390.86

-13,451.70

93,345.64
79,893.94

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Exhibit B-4

 

period ending 12/31/2020

See Balance Sheet.
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Exhibit C

onal atiow-ofeeriione toreund | Holdings C

Futurum Communications Corporation owns 100% of the common stock of this entity.

Fundamental Holdings Corp dba Peak Internet provides internet, telephone, and other
telecommunications services in the Teller County, Colorado area. Information per President

Jawaid Bazyar.
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TAB SI

San Isabel Telecom Inc.
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Exhibit A
Valuation estimate for San Isabel Telecom, Inc.

 

Futurum Communications Corporation owns 100% of the common stock of San Isabel Telecom,
Inc.

We do not have a valuation estimate for this entity.
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Exhibit B

Fi ial S for San Isabel Tel
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Exhibit B-1
Balance Sheet for San Isabel Telecom Inc
As of 12/31/2020
Case:21-11331-KHT

10:15 AM
04/21/21

Accrual Basis

ASSETS
Current Assets
Checking/Savings
1020 - Checking & Cash Accounts
1020.11 - Community Banks - 0072
1020.12 - Collegiate Peaks Bank - 9278

Total 1020 - Checking & Cash Accounts
1072 - Bill.com Money Out Clearing
Total Checking/Savings

Accounts Receivable
1100 - Accounts Receivable
1105 - Accounts Receivable - Billing
1107 - Cabs Income

Total 1100 - Accounts Receivable
Total Accounts Receivable

Other Current Assets
1200 - Employee Advances

Total Other Current Assets
Total Current Assets

Fixed Assets
1500 - Network Capital
1520 - Network Equipment
1520.31 - Network

Total 1520 - Network Equipment

1540 - Network Infrastructure
1590 - Fiber Networks
1590.04 - Fiber Buildout

Total 1590 - Fiber Networks
Total 1540 - Network Infrastructure
1500 - Network Capital - Other
Total 1500 - Network Capital
Total Fixed Assets
TOTAL ASSETS

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Accounts Payable
2001 - Accounts Payable

Total Accounts Payable

Credit Cards
2010 - Credit Card
2010.06 - Citi Visa

Total 2010 - Credit Card
Total Credit Cards

Other Current Liabilities
2015 - Accrued Expenses
2021 - Accrd Payroll Vacation Liab
2025 - Accrued Taxes Payable
2035 - Miscellaneous Accrued Expenses

Total 2015 - Accrued Expenses
2920 - Doug Wagner - Stock Payment
Total Other Current Liabilities
Total Current Liabilities

Long Term Liabilities
Eagle County E911 Judgement
2100 - LT Loans & Lines of Credit
2120 - Bank Loans & Lines of Credit
2120.06 - Vectra Bank Colorado
2120.07 - Forethought Acquisition

Total 2120 - Bank Loans & Lines of Credit

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San Isabel Telecom, Inc.
Balance Sheet
As of December 31, 2020

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Jun 30, 20 Sep 30, 20 Dec 31, 20
725.22 50.22 50.22
17,245.17 9,261.62 2,010.18
17,970.39 9,311.84 2,060.40
-1,217.97 -4,717.97 -4,297.97
16,752.42 4,593.87 -2,237.57
129,230.55 139,196.92 115,522.42
14,538.43 14,538.43 14,451.50
143,768.98 153,735.35 129,973.92
143,768.98 153,735.35 129,973.92
500.00 500.00 $00.00
500.00 500.00 500.00
161,021.40 158,829.22 128,236.35
11,730.00 11,730.00 11,730.00
11,730.00 11,730.00 11,730.00
3,090.98 3,090.98 3,090.98
3,090.98 3,090.98 3,090.98
3,090.98 3,090.98 3,090.98
0.00 6,466.00 6,466.00
14,820.98 21,286.98 21,286.98
14,820.98 21,286.98 21,286.98
175,842.38 180,116.20 149,523.33
291,520.26 318,581.52 321,907.43
291,520.26 318,581.52 321,907.43
4,049.58 3,298.58 3,298.58
4,049.58 3,298.58 3,298.58
4,049.58 3,298.58 3,298.58
1,080.63 1,080.63 1,080.63
-123,315.57 -119,811.50 -116,503.13
-2,713.00 -2,713.00 -2,713.00
-124,947.94 -121,443.87 -118,135.50
-39.23 -39.23 -39.23
-124,987.17 -121,483.10 -118,174.73
170,582.67 200,397.00 207,031.28
-4,000.00 -4,000.00 -4,000.00
35,171.98 35,171.98 35,171.98
256,409.20 224,701.68 201,633.29
291,581.18 259,873.66 236,805.27

Page 1
Case:21-11331-KHT

10:15 AM
04/21/21

Accrual Basis

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San Isabel Telecom, Inc.
Balance Sheet
As of December 31, 2020

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2120.08 - Futurum Communications Corp.
2123 - Jo Crandall
2918 - On Deck

Total 2100 - LT Loans & Lines of Credit

2919 - American Tower
2919.01 - American Tower - Lease 1

Total 2919 - American Tower
Total Long Term Liabilities
Total Liabilities
Equity
3000 - Opening Bal Equity
3900 - Retained Earnings
Net Income
Total Equity

TOTAL LIABILITIES & EQUITY

 

 

 

 

 

 

 

Jun 30, 20 Sep 30, 20 Dec 31, 20

562,960.77 558,676.77 558,676.77

130,000.00 130,000.00 130,000.00

586.98 586.98 586.98
985,128.93 949,137.41 926,069.02

125.00 125.00 125.00
125.00 125.00 125.00
981,253.93 945,262.41 922,194.02
1,151,836.60 1,145,659.41 1,129,225.30
-570,644.25 -570,644.25 -570,644.25
-415,876.00 -415,876.00 -415,876.00
10,526.03 20,977.04 6,818.28
-975,994.22 -965,543.21 -979,701.97
175,842.38 180,116.20 149,523.33

 

 

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Exhibit B-2

Statement of Income (Loss) for San Isabel Telecom Inc

Period ending 12/31/2020
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6:00 PM San Isabel Telecom, Inc.
04/20/21 Profit & Loss
Accrual Basis July through December 2020
Jul-Sep 20 Oct-Dec 20 TOTAL
Ordinary Income/Expense
Income
4010 - Revenue - Foundations 97,261.05 93,395.39 190,656.44
4200 - Cloud Services 50.33 15.00 65.33
4300 - Managed Services 168.13 280.40 448.53
4900 - Miscellaneous Revenue 760.90 1,210.26 1,971.16
4998 - Returns & Allowances -2,316.60 -477.40 -2,794.00
Total Income 95,923.81 94,423.65 190,347.46
Cost of Goods Sold
5010 - Cost - Foundations 32,904.73 25,648.35 58,553.08
5500 - Network Infrastructure 12,522.75 12,803.02 25,325.77
Total COGS 45,427.48 38,451.37 83,878.85
Gross Profit 50,496.33 55,972.28 106,468.61
Expense
6300 - Executive & Administration 40,045.41 70,131.04 110,176.45
Total Expense 40,045.41 70,131.04 110,176.45
Net Ordinary Income 10,450.92 -14,158.76 -3,707.84
Other Income/Expense
Other Income
7005 - Interest Income 0.09 0.00 0.09
Total Other Income 0.09 0.00 0.09
Net Other Income 0.09 0.00 0.09
Net Income 10,451.01 -14,158.76 -3,707.75

 

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Exhibit B-3

Statement of Cash Flows for San Isabel Telecom Inc
For the period ending 12/31/2020
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6:01 PM
04/20/21

San Isabel Telecom, Inc.

Statement of Cash Flows
July through December 2020

 

OPERATING ACTIVITIES
Net Income
Adjustments to reconcile Net Income
to net cash provided by operations:

1100 -
1100 -
- Accounts Payable
2010 -
2015 -

2001

Accounts Receivable:1105 - Accounts Receivable - Billing
Accounts Receivable:1107 - Cabs Income

Credit Card:2010.06 - Citi Visa
Accrued Expenses:2025 : Accrued Taxes Payable

Net cash provided by Operating Activities

INVESTING ACTIVITIES
1500 - Network Capital

Net cash provided by Investing Activities

FINANCING ACTIVITIES
2100 - LT Loans & Lines of Credit:2120 - Bank Loans & Lines of Credit:2120.07 - Forethought Acquisition
2100 - LT Loans & Lines of Credit:2120.08 - Futurum Communications Corp.

Net cash provided by Financing Activities

Net cash increase for period

Cash at beginning of period

Cash at end of period

Jul - Dec 20

-3,707.75

13,708.13
86.93
30,387.17
-751.00

6,812.44

46,535.92

-6,466.00

-6,466.00

-54,775.91
-4,284.00

-59,059.91

-18,989.99

16,752.42
-2,237.57

Page 1
Case:21-11331-KHT Doc#:75 Filed:05/11/21 Entered:05/11/21 21:48:54 Page29 of 31

Exhibit B-4

 

period ending 12/31/2020

See Balance Sheet.
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Exhibit C
rati f |
Futurum Communications Corporation owns 100% of the common stock of this entity.

San Isabel Telecom provides internet, telephone, and other telecommunications services in the
Eagle County, Colorado area. Information per President Jawaid Bazyar.
Case:21-11331-KHT Doc#:75 Filed:05/11/21 Entered:05/11/21 21:48:54 Page31 of 31

TAB BSI

Brainstorm Internet

Corporate formalities have not been maintained between Futurum Communications Corp (parent) and

Brainstorm Internet (wholly owned subsidiary) since January 2017. In the future we will meet with CPA

and update disclosure as to Brainstorm once we have go-forward projections separating Futurum and
Brainstorm.
